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                                Copyrights-In-Suit for IP Address 98.193.89.38

ISP: Comcast Cable Communications Management, LLC
Location: Chicago, IL



                               Registration       Date of First                              Most Recent Hit
Title                          Number             Publication            Registration Date   UTC
Would You Fuck My Girlfriend   PA0002094797       11/10/2017             11/28/2017          11/19/2017

An Afternoon Inside Kim        PA0002050594       06/01/2017             08/29/2017          08/06/2017

Emerald Love                   PA0002078611       07/22/2017             08/30/2017          08/06/2017

A Fucking Hot Threesome        PA0001957700       08/07/2015             08/17/2015          08/06/2017

Sex For Three By The Sea       PA0002078047       07/29/2017             08/30/2017          08/06/2017

A Rose A Kiss and A Bang       PA0002042063       01/28/2017             03/25/2017          03/14/2017

Want To Fuck My Wife           PA0002042072       02/10/2017             03/25/2017          03/14/2017

Happy Birthday Capri           PA0001846087       05/24/2013             06/17/2013          03/14/2017

Truth or Dare                  PA0001846099       05/16/2013             06/30/2013          06/12/2016


Total Malibu Media, LLC Copyrights Infringed: 9




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